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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

UNITED STATES OF AMERICA

       v.                                             CR. NO. 2:19-CR-126-ECM-GMB-2

ASHLEY LEE BOZEMAN

                                     PLEA AGREEMENT

                              I. BACKGROUND INFORMATION

A.    Attorneys

Defense Attorney:                     Cecilia Vaca

Assistant United States Attorney:     Jonathan S. Ross

B.    Counts and Statutes Charged

Count 1:        21 U.S.C. § 846 — Conspiracy to violate the Controlled Substances Act;

Counts 2-5: 21 U.S.C. § 843(a)(3) — Acquisition of a controlled substance by fraud, deception,
                   or subterfuge

C.    Count Pleading Pursuant to Plea Agreement

Count 1:        21 U.S.C. § 846

D.      Statutory Penalties

Count 1:        21 U.S.C. § 846

       A term of imprisonment of not more than 20 years, a fine of not more than $1,000,000, or
twice the value of the property involved in the transaction, whichever is greater, or both the fine
and imprisonment; a term of supervised release of not more than 3 years; an assessment fee of
$100; and an order of restitution.

E.      Elements of the Offense

Count 1:               21 U.S.C. § 846:
       First:          Two or more people in some way agreed to try to accomplish a shared and
                       unlawful plan to possess a controlled substance with the intent to distribute
                       the controlled substance; and
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        Second:        the defendant knew the unlawful purpose ofthe plan and willfully joined in
                       it.

                                      II. INTRODUCTION

       Jonathan S. Ross, Assistant United States Attorney, and Cecilia Vaca, attorney for the

defendant, Ashley Lee Bozeman, pursuant to Rule 1 1(c)(1)(A)and Rule 1 1(c)(1)(B)ofthe Federal

Rules of Criminal Procedure, with the authorization ofthe defendant, submit this plea agreement.

The terms are as follows.

                          III. THE GOVERNMENT'S PROVISIONS

        1.     Pursuant to Rule 1 1(c)(1)(B), the government agrees to recommend a sentence of

no greater than the bottom, that is, the lowest number, of the advisory Guidelines range, as

calculated by the Court at the sentencing hearing.

       2.      The government acknowledges that the defendant assisted authorities in the

investigation and prosecution of the defendant's own misconduct by timely notifying the

government of the defendant's intention to enter a guilty plea, thereby permitting the government

to avoid preparing for trial and allowing the government and the Court to allocate resources

efficiently. Provided the defendant otherwise qualifies, and that the defendant does not, before the

date ofthe sentencing hearing, either personally or through the actions of the defense attorney on

behalf of the defendant, take any action inconsistent the acceptance of responsibility, the

government will move at or before the sentencing hearing for a further reduction of one level. See

U.S.S.G. § 3E1.1(b). Determination of whether the defendant met the defendant's obligations to

qualify for a reduction pursuant to § 3E1.1(b) is at the sole discretion of the government. Further,

the government reserves the right to oppose the defendant's receiving a two-level reduction

pursuant to § 3E1.1(a) should the government receive information indicating that, between the

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date of the plea hearing and the date ofthe sentencing hearing, the defendant, either personally or

through the actions of the defense attorney on behalf of the defendant, has acted inconsistent with

the acceptance of responsibility.

       3.      The government reserves the right to argue for or against the application of any

specific offense characteristic or Chapter 3 adjustment. Additionally, the government reserves the

right to provide information to the United States Probation Office (Probation) regarding the

defendant's criminal history. This agreement does not obligate the government to make any

recommendation regarding the defendant's criminal history score or resulting criminal history

category.

       4.      Pursuant to Rule 1 1(c)(1)(A), the government agrees that it will, at the sentencing

hearing, move to dismiss Counts 2 through 5. The government further agrees that it will not

bring any additional charges against the defendant for the conduct described in the Indictment.

                           IV. THE DEFENDANT'S PROVISIONS

       5.      The defendant agrees to plead guilty to Count 1 and to make factual admissions of

guilt in open court. The defendant further agrees to waive any right the defendant may have to

subsequently withdraw the guilty plea pursuant to Rule 11(d). The defendant also promises to

refrain from taking any action inconsistent with the defendant's acceptance of responsibility for

the offense to which the defendant is pleading guilty.

       6.      The defendant reserves the right to request a downward variance, that is, a sentence

below the bottom, that is, the lowest number, of the advisory Guidelines range.

       7.      The defendant acknowledges that the defendant will not be allowed to withdraw

the guilty plea in the event that the Court does not accept any or all of the recommendations made


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pursuant to Rule 1 1(c)(1)(B). The defendant also understands that the defendant will be allowed

to withdraw the guilty plea in the event that the Court does not accept any or all of the provisions

set forth pursuant to Rule 1 1(c)(1)(A).

       8.      The defendant agrees not to commit any other federal, state, or local offense while

awaiting sentencing, regardless of whether that offense is charged or chargeable. The defendant

agrees to provide truthful information to Probation and to the Court in all presentence and

sentencing proceedings.

       9.      The defendant agrees to pay all fines and restitution imposed by the Court to the

Clerk of the Court. The defendant acknowledges that the full fine and restitution amounts shall be

considered due and payable immediately. Ifthe defendant cannot pay the full amount immediately

and is placed in custody or under the supervision of Probation at any time, the defendant agrees

that the United States Bureau ofPrisons and Probation will have the authority to establish payment

schedules to ensure payment of the fine and restitution. The defendant further agrees to cooperate

fully in efforts to collect any financial obligation imposed by the Court by set-off from federal

payments, execution on non-exempt property, and any other means the government deems

appropriate. The defendant also agrees that the defendant may be contacted by government

officials regarding the collection of any financial obligation imposed by the Court without

notifying the defendant's attorney and outside the presence ofthe defendant's attorney.

       10.     To facilitate the collection of financial obligations imposed in this case, the

defendant agrees to disclose fully all assets in which the defendant has any interest or over which

the defendant exercises control, directly or indirectly, including those held by a spouse, nominee,

or third party. Further, the defendant will, if requested by the government, promptly submit a


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completed financial statement to the Office of the United States Attorney for the Middle District

of Alabama in a form the government provides and as the government directs. The defendant

promises that such financial statement and disclosures will be complete, accurate, and truthful.

The defendant expressly authorizes the government to obtain a report on the defendant's credit in

order to evaluate the defendant's ability to satisfy any financial obligation imposed by the Court.

        11.    The defendant certifies that the defendant has made no transfer of assets in

contemplation ofthis prosecution for the purpose ofevading or defeating financial obligations that

are created by this agreement or that may be imposed upon the defendant by the Court. In addition,

the defendant promises that the defendant will make no such transfers in the future.

        12.    The defendant agrees to pay the $100 assessment fee on the date of sentencing.

        13.    The defendant agrees to waive and hereby waives all rights, whether asserted

directly or by a representative, to request or receive from any department or agency of the United

States any records pertaining to the investigation or prosecution of this case, including, but not

limited to, any records that may be sought under the Freedom of Information Act, see 5 U.S.C.

§ 552, or the Privacy Act of 1974, see 5 U.S.C. § 552a.

                                          V. FACTUAL BASIS

        14.    The defendant admits the allegations charged in the Indictment and understands

that the nature ofthe charges to which the plea is offered involves proofas to Count 1. Specifically,

the defendant admits the following to be true and correct:

               a.      In or about April of2016, Bozeman knowingly, intentionally, and willfully

combined,conspired, and agreed with Tracy Giddens to possess with intent to distribute controlled

substances, namely: (1)oxycodone, a Schedule II controlled substance; (2) hydrocodone, a


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Schedule II controlled substance;(3) dextroamphetamine-amphetamine, a Schedule II controlled

substance; and (4)alprazolam, a Schedule IV controlled substance.

                 b.     Part of the agreement was that Bozeman and Giddens would obtain the

above-listed drugs by forging prescriptions for those drugs, using the prescription pad of a

Montgomery,Alabama physician, Dr. H. Dr. H. did not authorize or have knowledge ofthe forged

prescriptions.

                 c.     After forging the prescriptions, Bozeman and Giddens would take the

forged prescriptions to area pharmacies to be filled.

                 d.     Upon filling the prescriptions, Bozeman and Giddens would attempt to

distribute the drugs to others.

                 e.    Bozeman and Giddens took actions in furtherance of the conspiracy in

Montgomery County, Alabama, and elsewhere.

                 f.    The conspiracy operated from in or about April of2016 through in or about

September of 2017.

    VI. THE DEFENDANT'S WAIVER OF APPEAL AND COLLATERAL ATTACK

       15.       Understanding that 18 U.S.C. § 3742 provides for appeal by a defendant of the

sentence under certain circumstances, the defendant expressly waives any and all rights conferred

by 18 U.S.C. § 3742 to appeal the conviction or sentence. The defendant further expressly waives

the right to attack the conviction or sentence in any post-conviction proceeding, including

proceedings pursuant to 28 U.S.C. § 2255. Exempt from this waiver is the right to appeal or

collaterally attack the conviction or sentence on the grounds of ineffective assistance ofcounsel or

prosecutorial misconduct.


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        16.     In return for the above waiver by the defendant, the government does not waive its

right to appeal any matter related to this case, as set forth at 18 U.S.C. § 3742(b). However, if the

government decides to exercise its right to appeal, the defendant is released from the appeal waiver

and may pursue any appeal pursuant to 18 U.S.C. § 3742(a).

                             \IL BREACH OF THE PLEA AGREEMENT

        17.     The parties agree that the issue of whether either party has breached this agreement

at any time is one that will be resolved by the Court by a preponderance of the evidence, except as

set forth in paragraph 19. The parties agree that, should either party obtain information causing

the party to develop a good faith belief that the other party has breached this agreement, then the

party will promptly file a written motion—or make an oral motion if doing so would be more

expedient—asking that the Court declare the other party to be in breach of the plea agreement.

        18.    The parties agree that, a breach of the plea agreement by the defendant would

include, but not be limited to:(1)failing to fulfill each of the defendant's obligations under this

plea agreement;(2)committing new criminal conduct; or (3) seeking to withdraw the guilty plea

or otherwise engaging in conduct inconsistent with an acceptance of responsibility. Should the

Court find the defendant to have breached this agreement:(1)the government will be free from its

obligations under this agreement;(2)the defendant will not be permitted to withdraw the guilty

plea; (3)the defendant's obligations and waivers under this agreement will remain in full force

and effect;(4)the defendant will be subject to prosecution for other crimes; and(5)the government

will be free to use against the defendant, directly and indirectly, in any criminal or civil proceeding,

all statements by the defendant and any information or materials provided by the defendant,

including statements made during the plea hearing and all statements made by the defendant


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pursuant to proffer letters.

        19.    The parties agree that, in the event that the defendant breaches this agreement by

committing new criminal conduct, the government will be required to only establish probable

cause to believe that the defendant committed a new criminal offense for the Court to find the

defendant in breach of the plea agreement.

       20.     The parties agree that, should the Court find the government in breach of this plea

agreement, the defendant may cancel this agreement and thus be released from the appellate and

collateral attack waivers. The parties further agree that a breach of the plea agreement by the

government will not automatically entitle the defendant to withdraw the guilty plea and, if the

defendant should seek to withdraw the guilty plea on the basis of such a breach, then the defendant

will be required to file a motion pursuant to Rule 11(d), which the government could oppose.

                   vIll. THE DEFENDANT'S ACKNOWLEDGEMENTS

       21.     The defendant acknowledges that the Court is neither a party to nor bound by this

agreement. The defendant understands and acknowledges that, although the parties are permitted

to make recommendations and present arguments to the Court, the Court will determine the

advisory Guidelines range and the sentence. The defendant acknowledges that the defendant and

the defendant's attorney have discussed the advisory Guidelines and the statutory sentencing

factors set forth at 18 U.S.C. § 3553(a) and the defendant understands how those provisions may

apply in this case. The defendant further understands that the defendant will have no right to

withdraw a guilty plea on the basis that the Court calculates an advisory Guidelines range that

differs from the range projected by the defense attorney or the government.

       22.     The defendant acknowledges that the defendant authorized and consented to the


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negotiations between the government and the attorney for the defendant that led to this agreement.

        23.     The defendant understands that: (1) in pleading guilty, the defendant may be

required to make statements under oath; and (2) the government has a right to use against the

defendant, in a prosecution for perjury or for making a false statement, any statement that the

defendant makes. However, as the defendant understands, the government may not use as

evidence against the defendant in any future proceeding involving the charges alleged in the

Indictment or related offenses, the defendant's guilty plea if the Court permits the defendant to

withdraw that guilty plea.

        24.     The defendant understands that if the defendant pleads guilty pursuant to this

agreement and the Court accepts that guilty plea, the defendant will waive certain rights, namely:

(1)the right to plead not guilty or to persist in a plea of not guilty; (2) the right to a jury trial;

(3)the right to be represented by counsel—and if necessary to have the Court appoint counsel—

at trial and at every other stage of the proceeding; and (4)the right at trial to confront and cross-

examine adverse witnesses, to be protected from compelled self-incrimination, to testify and

present evidence, and to compel the attendance of witnesses.

        25.    The defendant understands:(1)the nature of each charge to which the defendant is

pleading guilty;(2)the maximum and minimum possible penalties associated with each charge to

which the defendant is pleading guilty, including imprisonment, fine, and a term of supervised

release; (3) any applicable mandatory minimum penalty associated with a charge to which the

defendant is pleading guilty;(4) any applicable forfeiture provision applicable to a charge to which

the defendant is pleading guilty;(5)the Court's authority to order restitution; and (6)the Court's

obligation to impose a special assessment.


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       26.     The defendant confirms that the entirety of any agreement between the defendant

and the government is as set forth in this agreement and any addendum to this agreement and that

the government has not made any promises to the defendant other than those contained in this

agreement and any addendum to this agreement. This agreement consists of 11 pages and 31

paragraphs and an addendum.

       27.     The defendant confirms that counsel has competently and effectively represented

the defendant throughout the proceedings leading to the entry of a guilty plea. The defendant is

satisfied with such representation.

       28.     The defendant acknowledges that the defendant enters this plea agreement and

pleads guilty freely and voluntarily. That is, the defendant acts without being influenced by any

threats, force, intimidation, or coercion of any kind.

       29.     The defendant understands that this agreement binds only the Office of the United

States Attorney for the Middle District of Alabama and that the agreement does not bind any other

component of the United States Department of Justice, nor does it bind any state or local

prosecuting authority.

                         IX. THE ATTORNEYS'ACKNOWLEDGEMENTS

       30.     The attorneys for the government and for the defendant acknowledge that this plea

agreement contains the entirety of any agreement between the parties and that the parties reached

this plea agreement in accordance with the procedure set forth at Rule 11.

       31.     The attorney for the defendant confirms that the attorney for the defendant advised

the defendant of:(1)the nature of the charges to which the defendant is pleading guilty; (2)the

penalties associated with those charges;(3) the rights that the defendant is waiving by pleading


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guilty; and (4)the possibility that statements made by the defendant under oath during a plea

hearing may be used against the defendant in a subsequent prosecution for perjury or for making

a false statement.

       This 229f-k day of             ,2019.
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                                           Respectfully submitted,

                                           LOUIS V. FRANKLIN, SR.
                                           UNITED STATES ATTORNEY



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J. athan S. R'otry
                 '
 ssistant Unite % States Attorney




Ashley Lee Bozeman
Defendant



Cecilia Vaca
Attorney for the Defendant




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